                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                      MINUTE SHEET

                                               Date: September 9, 2024
Plaintiffs:
Fernandes                                      Case Nos.        23-3005-CV-S-MDH
Payne                                                           23-3008-CV-S-MDH
Salazar                                                         23-3228-CV-S-MDH
Borlase                                                         23-3243-CV-S-MDH
Ferrazzani                                                      23-3244-CV-S-MDH
Maitland                                                        23-3245-CV-S-MDH
Marciarose                                                      23-3246-CV-S-MDH
Britt                                                           23-3316-CV-S-MDH
Alverado                                                        24-3025-CV-S-MDH
Brown                                                           24-3027-CV-S-MDH
Kemble                                                          24-3029-CV-S-MDH
Newcomer                                                        24-3031-CV-S-MDH
Opiola                                                          24-3033-CV-S-MDH
Theriault                                                       24-3034-CV-S-MDH
Sharp                                                           24-3068-CV-S-MDH
Ramirez                                                         24-3107-CV-S-MDH
Francis                                                         24-3108-CV-S-MDH
H.P.                                                            24-3149-CV-S-MDH
Adams                                                           24-3166-CV-S-MDH
Laude                                                           24-3167-CV-S-MDH
Stoner                                                          24-3172-CV-S-MDH
MB2                                                             24-3184-CV-S-MDH
Broek                                                           24-3225-CV-S-MDH

vs.
Defendants:
Agape Baptist Church, Inc., et al.,


Honorable Douglas Harpool, presiding at Springfield, Missouri

Nature of Hearing: Hearing on Pending Motions and Scheduling Issues

Time Commenced: 10:05 a.m.               Time Terminated: 11:10 a.m.




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APPEARANCES

Plaintiff: Phillip Martens, Rebecca Randles
Defendant: John Schultz, Pat Keck, Rachael Riso, Ryan Bertels

Proceedings: Parties appear as indicated. Various matters taken up. Oral argument on
Motion to Dismiss (Britt). Court takes Motion to Dismiss under advisement. Oral
argument on punitive damages. Matter taken under advisement. Scheduling issues taken
up. Parties are to submit weeks available for trial.

COURTROOM DEPUTY: Linda Howard
COURT REPORTER: Jodi Quelle
LAW CLERK: Michael Rotellini




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